Case 4:21-cv-02041-KM Document 92-10 Filed 07/09/24 Page 1 of 16




 EXHIBIT J
  SP 7-0050 (1 2-201 1)
                                  Case 4:21-cv-02041-KM  Document 92-10 Filed
                                                     REPORT TYPE
                                                                               07/09/24
                                                                         DATE{S),'DAY{S)          Page 2 of 16
                                                                                         OF INCIDENT

            PENNSYLVANIA STATE POLICE                                       181 INITIAL   O CONTINUATION                         09/19/16 Mon
                                                                            0 S UPPLE MENTAL                                     TIME( SI OF INCIDENT
                INCIDENT REPORT                                                                                                  1225 hrs
 ATTACHMENTS:
 0 INTOXICATION WORK SHEET            0 M ISSING PERSON CHECKLIST                                    DfSP.:l81 CLEARED f1V ARREST O UNFOUNDED O EXCEPTIONALLY CLEARED- DATE
 0 FELONY CRIMES AGAI NST THE PERSON 0 STATEMENT FORM(S)
 0 V1C11MWTNESSASSISTANCEGUIOERECBF'T 0 RIGlfTS WARNING AND WAIi/ER                                  A O DEATH OF ACTOR                          D O VICTIM REFUSED TO COOPERATE
 181 PROPERTY RECORD
                                                                                                     B O PROSECUTION DECLINED                    E   O JUVENILE/NO CUSTODY
 181 OTHER criminal complaint
                                                                                                     C   O l!XTRADITION DENIED                   N 5a NOT APPLICABLE                            n MULTIPLE CLEAR-UP
 1. CRISTATl0N
                                                       I
                                                           :Z. LOCATION                                                                                                                                                     ZONE
 PAPSP6000/Montoursville                                   Homewood Ave at the Kmart parking lot

                                                                                                                     I 219 I Lycoming
                                                                                                                                                                                                                               10
 3. CITYfTWPIBORO                                                                                                        COOE        4. COUNTY                                                                              CODE
 Loyalsock Twp                                                                                                                                                                                                                 41
                                                                          ADDRESS                                                                                                                   HOME TELEPHONE HO.
           1
 I. VICTIM HO.
 Society
 t. EMPLOYER NAME                                                         ADDRESS                                                                                                                   WORK TELEPHONE NO.




 7.   7 ·I              8. SEX     11. DOB             110. AGE           11. RES. STAT.             12. REL TO
                                                                                                          OFFENDER(SJ
                                                                                                                 ST
                                                                                                                          13. TYPE
                                                                                                                             INJ.
                                                                                                                                            14. CI RC,



                                                                          ADOflESS                                                                                                               HOME Ta.EPHONE NO.
 I. \IICTlll NO.   2           NAIii
                    CRUMM
                                                                          4729 Perkiomen Ave Reading, PA 19606
 6. EMPLOYER NAME                                                         ADDRESS                                                                                                                WORK TELEPHONE NO
 reg prop manager: Excel Trust                                            4729 Perkiomen Ave Reading, PA 19606                                                                                   609 - 678 - 5011
                                                                          11. RES. STAT.             12. REL TO
                                                                                                         OFFENDER($)
                                                                                                                          13. TYPE
                                                                                                                              INJ.
                                                                                                                                            14. CIRC.      15. CON. TO OFF.              116.   TYPE VICT. I 17. OFF. NO.
                                                                                                                                                                                                                        REL.
                                                                                    N                              ST                                      3                                            I                 1
18. OFFENSE
           SIMPLE ASSAULT                    CRIMINAL MISCHIEF                          TERRORISTIC THREATS                              THEFT BY UNLAWFUL TAKING OR DISPOSITION

           BURGLARY                          MISSING PERSON                             HARASSMENT                                   1,2 CONTROLLED SUB., DRUG, DEVICE & COSMETIC ACT

           ESCAPE                            AGGRAVATED ASSAULT                         ARSON AND RELATED OFF.                             DRMNG UNDER INFLUENCE OF ALCOHOUCONTROLLED SUB.

      3 OTHER Criminal Misdlief
19. NO.      20. STATUTE         21. Sl!CTION NO.              22. UCR          23. HATE/BIAS            24. OFF. USED     25. OFF. LOC.          26. ETY. METH     NO.            27. ACTY. TYPE           2&. WPN/FC         A

      1            cs            780-113a30                     18A                             88             N                      13                                                        T
      2            cs            780-1 13a16                    18E                             88             N                      13                                                        p
      3            cc            3304                           140                           88               N                      13
29. VEHICLE:               I     STOLEN       f I RECOVERED           I><    SUSPECT            I I OTHER
                                                                                                                                                                              '
                                                                                                                                                                                  36. VMA
                                                                                                                                                                                  Dodge
                                                                                                                                                                          1
37. VMO                  1 38. VST         , 39. VCO                      , 40. DOT                      1 41. MIS                                                                                                42.
Durango
43. NO.
                           SW
              44. PROPERTY DESCRIPTION
                                             black                                                         registered to Arthur MCCOY
                                                                                                                                45. PRO. DESC.       46. TYPE LOSS        47. OTY.          48. VALUE
                                                                                                                                                                                                              I   MILEAGE


                                                                                                                                                                                                              49. DATE REC.

      1       concrete block wall and interior studs and drywall damaged                                                                    31                 04                           12000

              by offender vehicle driving through the building




             Total Damage:                                                                                                                                                                  12000
so.                                                                   YES               NO                                                                                                      YES            NO

                   INCIDENT PROMPTLY REPORTED BY VICTIM                   t8I           □                      NEIGHBORHOOD/AREA CANVAS                                                          181              □
                   CAN A SUSPECT BE NAMED                                 181           □                      ANY WITNESSES LOCATED                                                             181              □
                   EVIDENCE AT SCENE TO LINK OFFENDER                     181           □                      OFFENDER INFORMATION AVAILABLE                                                    t8J              □
                   CAN A VEHICLE BE IDENTIFIED WITH CRIME                 t8J           □                      IDENTIFIABLE/TRACEABLE PROPERTY                                                   t8J              □
                   SCENE PROCESSED FOR LATENT PRINTS
                                                                          □             181                    UNIQUE/UNUSUAL METHOD OF OPERATION
                                                                                                                                                                                                 □             181
                   LATENT PRINTS DISCOVERED
                                                                          □             181                    THOUGHT TO BE CONNECTED WITH KNOWN CRIME PATTERN
                                                                                                                                                                                                 □             181
                   SCENE CHECKED FOR WITNESSES                            t8I           D                      CLEAN MESSAGEINCIC ENTRY                                                          t8J            □
51. DATE/TIME OFFICER ARRNED            152. DATE/TIME OFFICER DEPARTED                   63. DA TE OF REPORT                   54. PART ONE ONLY
                                                                                                                                           0
                                                                                                                                                            I0 55. LCE NOTIFIED
                                                                                                                                                                                  l8i
                                                                                                                                                                                            I   56. SUPV. IN.IT./BADGE NO.
          09/19/16 / 1225                           09/19/16 / 2100                     1 09/27/16
                                                                                                                                             l
                                                                                                                                                                    YES     NO

57. OFFICER'S NAME/SIGNATURE                                                                                               BADGE NO.             58. INVES. RECM.         159. □          CONCUR             160. PAGE
 Tpr.T.R.HAVENS                                                                                                            7355                  181 CONT. 0 TERM.                      0 NONCONCUR                     1
                                                                            DEPARTMENT HEADQUARTERS
                                                                                                                                                         Dent and Havens Production 007
SP 7-0050A (12-2011) Case 4:21-cv-02041-KM
                                       REPORTDocument 92-10                                                               Filed   07/09/24         Page 3 of 16
                                              TYPE                                                                         DATE(S)IDAY(S) OF INCIDENT         'I INCIDENT NO.
                                                                        181 INITIAL 181 CONTINUATION                         09/19/16 Mon.                                             PA2016-662364
        PENNSYLVANIA STATE POLICE
                                                                        0 SUPPLEMENTAL                                       TIME(S) OF INCIDENT                            JUVENILE        I   DOMESTIC VIOLENCE
    INCIDENT REPORT - PART II                                                                                                1225 hrs.                                             □                     D
ATTACHMENTS:                                                                                  DISP.: 181 CLEARED BY ARREST O UNFOUNDED O EXCEPTIONALLY CLEARED- DATE
0 INTOXICATION WORK SHEET                 0 MISSING PERSON CHECKLIST
0 FELONY CRIMES AGAINST THE PERSON        0 STATEMENT FORM{S)        A O DEATH OF ACTOR                                                    D    D VICTIM REFUSED TO COOPERATE
D VIC11MIWITNESS ASSISTANCE GUIDE RECEJPT 0 RlGlfTS WARMNG AND WIWER 8 0 PROSECUTION DECUNED                                               E    O JUVENILE/NO CUSTODY
181 PROPERTY RECORD
181 OTHER criminal complaint                                         C n EXTRADITION DENIED                                                N 121 NOT APPLICABLE                    n MULTIPLECLEAR-UP
81 . ORI/STATION                                      l 09/30/16
                                                           62. DATE OF REPORT           63.0FFENSE
                                                                                     I PWID heroin
PAPSP6000/Montoursville
84.   181 ACCUSED
      D susPl!cT
                         I es.   OFFENDER NO.
                           Anthony Marcus BARASKY
                                                 1         NAME                                   I 116.   ADDRESS
                                                                                                    1703 South            Taylor St Philadelphia, PA 19145

81. HOME TELEPtlONE NO.              68. NICKNAMES/ALIAS                                                    1 69. HEIGHT
                                                                                                                                   70. WEIGHT
                                                                                                                                                          171.HAIR          72. EYES        1 73. MARITAL STATUS

       - -                                                                                                      600                185                      BLK
                                                                                                                                                                   82. ARMED
                                                                                                                                                                            BRO

                                                                                                                                                                                        A
                                                                                                                                                                                                single


                                                                                                                                                                                                 83. OTN/NON-
                                     76.008            77.AGE           78. RES. STAT.      79. OFF. CODE           80. TYPE             81. DATE OF
74. RACEJETHY,       . 75. SEX                                                                                                                                         WITH                          TRAFFIC CIT. NO.
                                                                                                                       ARREST                ARREST

 B I            N    !    M                            26                          N        18A                            0             09/19/16                         01                     X049643-6

84. FINGERPRINTED          I   85. PHOTOGRAPHED            86. DISP. UNDER 18    I ~7. VIC. NO. REL.        1 88.SSN                     I 29284197
                                                                                                                                               89. OLN
                                                                                                                                                                                                             STATE

181 YES 0           NO         181  YES      O
                                            NO         I                                                                                                                                                         PA
                                                                      91. EMPLOYER/SCHOOL                                                                                              92. MISC. NO.
90. BIRTHPLACE
                                                                  I
Pennsv lvan ia
84.   D ACCUSED 186. OFFENDER NO. 2                        NAME
                                                                      unemoloved
                                                                                                  I   86. ADDRESS
      D SUSPECT
87. HOME TELEPHONE NO.               68. NICKNAMES/ALIAS                                                    I   69. HEIGHT         70. WEJGHT             1 71 . HAIR       72. EYES        1 73. MARITAL STATUS

       -        -                    75.DOS            77.AGE           78. RES. STAT.      79. OFF. CODE           80. TYPE             81 . DATE O F             82.ARMED             A        83. OTNJNON-
74. RACE/ETHY,           75. SEX
                                                                                                                       ARREST                 ARREST                  WITH                           TRAFFIC CIT. NO.

        I
84. ANGERPRINTE D
0           0
                           I □ YES
                               85. PHOTOGRAPHED        88. DISP. UNDER 18        I   87. VIC. NO. REL.      I   88. SSN                  1 89. 0LN                                                           STATE

      YES
90. BIRTHPLACE
                    NO                       ONO
                                                                  I   91. EMPLOYER/SCHOOL
                                                                                                                                                                                       92. MISC. NO.



DOMESTIC VIOLENCE/PfA CHECKLIST                                                              l    93. PREVIOUS EVENTS                           0 YES              D NO            (EXPLAIN IN NARRATIVE)

94. COMPLAINANT NAME (LAST, ARST, MIDDLE)                         VICTIM IS COMPLAINANT       0                                        R/SIA


                                                                                                                                                                        TELEPHONE NO.
95. ADDRESS
                                                                                                                                                                               -       -
96. CONTACT PERSON NAME jLAST, FIRST, MIDDLE)                   VICTIM' S TEMPORARY ADDRESS            0                               R/S/A


                                                                                                                                                                        TELEPHONE NO.
97. ADDRESS
                                                                                                                                                                               -       -
98. VICTIM'S INJURIES (OBSERVED)



In. VICTIM'S INJURIES (REPORTED)

                                                                                                                                                         103. VICTIM IS ALSO AN ACTOR                 (EXPLAIN IN
100. INJURIES PHOTOGRAPHED                   1101. VICTIM INTERVIEWED                    1 102. STATEMENT
      0 YES 0            NO                          □ YES        ONO                     0 SIGNED WRITTEN 0 TAPED                                                                                      NARRATIVE)
                                                                                                                                                    I      0 YES ONO 0 ARRESTED
                                                               1 105.  VICTIM INFORMED OF                             DATE/TIME                            1 100. WEAPONS USED/THREATENED (INCLUDE
104. ARRAIGNED                   DATEmME
□ YES       □ NO                                                  ARREST/BAIL    □ YES            D NO                                                       DETAILS IN NARRATIVE)               □ YES       D NO
107. L IST ALL CHILDREN'S NAME(S), R/S/A. ADDRESS{ES), TELEPHONE NUMBER(S), AND TEMPORARY ADDRESS(ES) (UST ADDITIONAL CHILDREN IN NARRATIVE).




108. ACTOR'S INJURIES (OBSERVED)


109. ACTOR'S INJURIES (REPORTED)


                                                 111. ACTOR INTERVIEWED                  1 112. STATEMENT                                           1 113. ACTOR IS ALSO A VICTIM (EXPLAIN IN NARRATIVE)
110. INJURIES PHOTOGRAPHED
      0 YES 0
114. ARRAIGNED
                         NO
                                 DATE/TIME
                                             I       □ YES        D NO
                                                               1 115. VICTIM INFORMED OF
                                                                                          0 SIGNED WRITTEN 0 TAPED
                                                                                                                      DATEmME
                                                                                                                                                                  0 YES O NO O ARRESTED
                                                                                                                                                           1116. WEAPONSUSED/THREATENE0 (INCLUDE

0 YES 0             NO                                           ARREST/BAIL         O
                                                                                    YES            0       NO                                                DETAILS IN NARRATIVE)               □ YES       D NO
                                                                            118. INVES. RECM.                      119. SUPV. INITJBADGE NO.               120.         OcoNCuR
                                                                                                                                                                                                          121. PAGE
117. OFFICER'S NAME/SIGNATURE                          BADGE NO.
Tpr.T.R.HAVENS                                         7355                       181CONT.    D TERM.                              I                                    0NONCONCUR                           2


                                                                              DEPARTMENT HEADQUARTERS


                                                                                                                                                         Dent and Havens Production 008
                          Case 4:21-cv-02041-KM   Document 92-10 Filed   07/09/24         Page 4 of 16 INCIDENT NO.
 SP 7-0051 (3-96)

        PENNSYLVANIA STATE POLICE
                                              REPORT TYPE
                                                                  DATE(S)/DAY(S)

                                                          181 INCIDENT
                                                          0   OTHER
                                                                                 OF INCIDENT
                                                                                                             09/19/16 Mon.
                                                                                               TIIIE(S) OF INCIDENT                 I
                                                                                                                                             lI
                                                                                                                                        Juv;;ILE
                                                                                                                                                   PA2016-662364
                                                                                                                                                     DOMESTIC~IOLENCE
                                   CONTINUATION SHEET ~                                                     1225 hrs.
                  SW'PI.EtlENTAL INVESTIGATION REPORT 0
 ATTACHMENTS:                           0 MISSING PERSON CHECKLIST DIS?.: 181 CLEARED BY ARREST O UNFOUNDED O EXCEPTIDNALLY CLEARED· DATE
                                                                   A □ DEATHOFACTOR              D □ VICTIMREFUSEDTOCOOPERATE
 0 FELONY CRIMES AGAINST TI-IE PERSON 0 STATEMENT F0RM(S}
 0 VICTIMMIITNESSASSISTANCEGUIOERECEIPT O RlGHTSWARNINGAN0WAJVER BO PROSECUTIONDECUNEI> E O JUVENILE/NOCUSTOOY
 Ix'! PROPERTY RECORD     ~ OTHER criminal com0laints                    C   O EXTRADITION DENIED             N ~ NOT APPUCABl.E           O MULTlPLE CLEAR.UP
                                                                                                                                    2. DATE OF REPORT
 1. ORI/STATION
                                              PAPSP6000/Montoursville                                                           I                  09/27/16
 3, OFFENSE                                                                                           I   4 . VICTIM
                                                                                                     Societv
                                    PWID-Heroin
I 5. NARRATIVE
  SYNOPSIS: Anthony BARASKY was observed operating a black Dodge Durango with illegal window tint in the City of
  Williamsport. A traffic stop was attempted and BARASKY fled in the same vehicle. A pursuit was initiated and terminated due
  to risk of public safety. A second traffic stop was attempted on BARASKY in the same vehicle in Loyalsock Twp and he fled a
  second time. A pursuit was initiated and terminated again due to risk of public safety. BARASKY ultimately crashed his
  vehicle through the block wall of the Kmart shopping center, fled on foot and was later captured. He was found to have
  discarded heroin on Northway Rd and inside a garbage can in the Kmart Plaza during his flight. An additional amount of
  heroin was found in his vehicle upon execution of a search warrant.

 PHYSICAL EVIDENCE: MVR video
                    219 blue glassine bags of heroin, stamped with a blue handgun and the word "Purged", in clear zip
                    lock bags
                    Drugswipe from BARASKY's hands showing trace amounts of opiates and cocaine

 DETAILS: On 09/19/16, Tpr. Edward DAMMER and I were in full uniform, operating a marked State Police vehicle, on patrol
 in Loyalsock Twp and the City of Williamsport in Lycoming County. On the same date at 1225 hrs, I observed Anthony
 BARASKY operating a black in color Dodge Durango PA Reg#KBB4957, with illegal window tint, eastbound on High St near
 Herdic Pl in the City of Williamsport. I am familiar with BARAS KY and immediately recognized him. I was further aware that
 BARASKY was recently involved in a vehicle pursuit in the City of Williamsport in the same vehicle and that he did not have a
 valid license. I immediately turned around and activated my emergency lights and sirens and attempted to stop BARASKY.
 BARASKY turned north on Campbell St and accelerated while passing vehicles on the left in a no passing zone toward
 oncoming traffic (vehicle/s had to move out of his way). He then turned east onto Louisa St and traveled at speeds in excess
 of 80 mph as he ran through the stops signs at 1st through 7th St. At 7th St, BARASKY's vehicle went airborne due to his
 high rate of speed. Due to the high rates of speed and the time of day, we terminated the pursuit in fear of innocent persons
 being hurt or killed by BARASKY's actions.

    We traveled east on Louisa St to Cemetery St and then north on Cemetery where we were advised by some City workers
 that a black Dodge Durango traveled at a high rate of speed north on Cemetery St. We then traveled to Cemetery St and
 Bloomingrove Rd in Loyalsock Twp where another w itness advised that the same vehicle traveled north on Bloomingrove Rd.
 We then traveled to Bloomingrove Rd and Northway Extension where I observed yaw marks coming from Bloomingrove Rd
 to Northway Extension. I radioed ahead and asked for another PSP Unit to look for the same vehicle at Northway Rd and
 Northway Extension. We did not stop long enough to identify any of the witnesses.

    A few minutes later, Tpr. Tyler MORSE advised via police radio that he tried to stop the same vehicle on Northway Rd
 near Northway Rd Extension and it was also fleeing from him. Tpr. MORSE pursued the vehicle as it ran through the solid
 red light at Northway Rd and Four Mile Dr (causing vehicles approaching the intersection to scatter). Tpr. MORSE also had to
 abandon the pursuit do to BARASKY's high rates of speed and the danger to the public. Tpr. MORSE observed BARASKY
 travel south on Northway Rd past the Loyalsock High St and then lost sight of him. He observed him again near Sheridan St
 and lost sight of him a second time. EMS workers at the Loyalsock Fire hall then informed Tpr. MORSE that the same
 vehicle fled east on Homewood Ave. Tpr. MORSE traveled east on Homewood Ave until he found the same vehicle crashed
 through the concrete block western wall of the Kmart on East 3rd St in Loyalsock Twp. The entire front half of the vehicle
 crashed through the block wall into the children's department of the store. BARASKY was observed by a witness (who later
 identified him) flee from the crash scene, south and then east through the Kmart/Giant Plaza toward Staples.

   A short time later, BARASKY was observed by Tpr. Jessica NASCHKE jumping a fence at the rear of Willard's on
 Westminster Dr and was taken into custody in their parking lot by Tpr's NASCHKE, DAMMER and Rich HOLZ.

                                                                         -continued-
 IL OFFICER'S NAIIEISIGNATIJRE                                   BADGE NO.     I 7. INVEST. RECM.    I 8. SUPV. INIT./BADGE NO. I 9. □ CONCUR          110. PAGE
  Tor.T.R.HAVENS                                                 7355            IZl CONT. D TERM.                                      ONONCONCUR             3
                                                          DEPARTMENT HEADQUARTERS
                                                                                                                       Dent and Havens Production 009
                         Case 4:21-cv-02041-KM   Document 92-10 Filed    07/09/24         Page 5 of 16 lKCIDENT HO.
                                                                                                                                              l
                                                                 l>ATE(S}IDAY(S) OF INCIDENT
SP 7-0051 (3-96)                             REPORT TYPE
                                                                                                             09/ 19/1 6 Mon.                      PA2016-662364
                                                            IZf INCIDENT
       PENNSYLVANIA STATE POLICE                                                                  TIME(SI OF INCIOENT
                                                    181     0 OTHER
                                CONTINUATION SHEET                                                           1225 hrs.
                 SUPPLEJIENTAL INVESllGATION REPORT D
ATTACHMENTS:                            0 MISSING PERSON CHECKLIST OISP.: 181 CLEARED BY ARREST O UNFOUNDED O EXCEPTIONALLY CLEARED- DATE
0 FELONY CRIMES AGAINST THE PERSON 0 STATEMENT F0RM{SI              AO DEATHOFACTOR              D O VICTIMREFUSEDT0COOPERATE
0 VICTIMiW!TNESSASSISTANCEGUIDE RECEJPT O RIGHTS WARNING AND WAIVER B O PR0$ECUTION DEOUNED E O JUVEN1LE/NO CUSTODY
1511 PROPERTY RECORD     1'51'1 OTHER criminal complaints                  C   O elCTRADITION DENIED          N   181 NOT APPLICABLE        O MULllPlE CLEAR-UP
                                                                                                                                       2. DATE OF REPORT
1. ORI/STATION
                                               PAPSP6000/Montoursville                                                           1                09/27/16
3. OFFENSE                                                                                             14.   VICTIM
                                                                                                                                       Societv
                                           PWID-Heroin
5. NARRATIVE                                                                                                                                                         I
   A canvas of the area was conducted by PSP, Williamsport PD, LCNEU, Montoursville PD and several State Constables.
Tpr. DAMMER found a white HTC cellphone behind Willard's where BARASKY was observed jumping the fence. Found
inside the top of a garbage can in front of Staples in the Plaza was nine blue double sealed (clear zip lock bags) glassine
bags of heroin stamped "purge" with a handgun. Found along Northway Rd in front of the Loyalsock Twp High School was
another 70 bags of heroin stamped the same way. The heroin field tested positive. See attached supplemental reports
prepared by Tpr. Matthew SWEET and Tpr. DAMMER.

   When BARASKY was taken into custody, he was found to be in possession of approximately $500.00, two cellular
telephones and two additional cellular telephones inside the crashed Dodge Durango. BARASKY was placed in our State
Police patrol vehicle#19 and advised of his Miranda Rights. When asked if he understood his rights, he would not answer, so
I advised him of his Miranda Rights a second time. This time he advised that he understood them.

   I then transported BARASKY back to the crash scene. Once there, he complained of a neck injury that he alleged by
caused by police (and not the crash). BARASKY was then transferred by paramedics from our patrol unit to an ambulance.
While this was going on, I met with Joe Elaine RENNER.

INTERVIEW: Joe Elaine RENNER w/f-dob                   of                                                . RENNER advised
that she was standing in front of the Kmart, on the west side of the building when she heard the crash. She then looked north
along the west side of the store and observed the black Dodge Durango crashed into the building. She advised that she
observed a b/m flee from the area of the crash, south and then east in front of the Kmart toward the Staples. RENNER
observed BARASKY being loaded into the ambulance and indicated that he was the person who she observed flee from the
crash scene and across the Kmart plaza. See supplemental report prepared by Tpr. MORSE for his interview with RENNER.

   Sgt James WARNER rode in the ambulance with BARASKY to the Williamsport Hospital. Upon arrival at the hospital,
BARASKY refused treatment and was transported back to PSP Montoursville by Sgt WARNER and Tpr. HOLZ. At PSP
Montoursville, BARASKY was secured to a bench in the patrol room. Prior to securing BARASKY to the bench, the area was
checked/observed for security purposes.

INTERVIEW: Anthony BARASKY; At PSP Montoursville on 09/19/16 at approximately 1415 hrs, I attempted to interview
BARASKY. BARASKY admitted to driving the black Dodge Durango, but denied ever possessing heroin or discarding any
heroin during his flight. BARASKY said that he ran from us because he was tired of being harassed by police (specifically me)
and didn't have a driver's license. BARASKY then advised that he'd like to exercise his right to remain silent.

   BARASKY was then fingerprinted/photographed before being transported to District Court 29-3-02 for arraignment.
BARASKY was arraigned before MDJ Gary WHITEMAN on the listed charges and committed to the Lycoming County Prison
on $250,000.00 bail.

   Prior to transporting BARASKY to the prison, I brought him back to PSP Montoursville so that I could prepare a search
warrant for his hands to be swabbed for trace evidence of opiates. While preparing my search warrant, I was informed that
around the time BARASKY was fingerprinted, he was permitted to utilize the restroom, and subsequently washed his hands.
Nonetheless, I continued preparing the attached search warrant application. Same search warrant was authorized by
Lycoming County ADA Kenneth OSOKOW and issued by MDJ Jerry LEPLEY on 09/19/16 at 1830 hrs. See attached. I
served the same search warrant on BARASKY on the same date at 1835 hrs by utilizing a Drugwipe A5 test kit on both
BARASKY's hands. The test showed trace evidence of opiates and cocaine on BARASKY's hands. I shared this result with
BARASKY who rejected the test results as being a result of his handling of money. He claimed that all money contains trace
amounts of drugs and that his hands were contaminated by money. See attached photo of the test results. The test kit was
                                                                           - . _..
entered into evidence at PSP Montoursville on the same date, reference property record#F1-21917B.
B. OFFICER'S NAME/SIGNAT\JRE                                       BADGE NO. 17.     INVEISl'. RECM.   I 8. SUPV. INITJBADGE NO. 19. 0 CONCUR          110.   PAGE

 TPr.T.R.HAVENS                                                    7355            181 CONT. 0 TERM.                                     ONONCONCUR             4
                                                            DEPARTMENT HEADQUARTERS
                                                                                                                        Dent and Havens Production 010
SP 7-0051 (3-96)          Case 4:21-cv-02041-KM   Document
                                              REPORT TYPE  92-10 Filed   07/09/24
                                                                  DATE(S)IDAY[S) OF JNc;wENPage
                                                                                           1    6 of 16 INtwl:N t NO.
                                                            181 INCIDENT
                                                                                                                  09/19/16 Mon.                       I PA2016-662364
       PENNSYLVANIA STATE POLICE                                                                   TIME($) OF INCIDENT
                                 CONllNUATIOH SHEET ~
                                                            0   OTHER
                                                                                                                 1225 hrs.
                 SUPPI.EfllENTAL INVESTIGATION REPORT   D
ATTACHMENTS:                                0 MISSINGPERSONCHECKLIST       DISP.: 181 CLEARED BY ARREST O UNFOUNDED O EXCEPTIONALLY CLEARED- DATE

0 FELONY CRIIIES AGAINST TI-IE PERSON       0 STATEMENT FORM(St            A   U DEATH OF ACTOR                   D   O VICTIM REFUSED TO COOPERATE
□ I/ICTIM,WITNESSASSISTANCEGUIOERECEJPT □ RIGHTSWARNINGANDWANER            B D PROSECUTION DECLINED               ED JUVENll.E/NOCUSTODY
181 PROPERTY RECORD 181 OTHER criminal comolaints                          C D EXTRADITION DENIED                 N ~ NOTAPPUCASI.E                D MULTIPLECLEAR-UP
                                                                                                                                            2. DATE OF REPORT
1. ORI/STATION
                                               PAPSP6000/Montoursville                                                                  1              09/27/16
3. OFFENSE                                                                                                14. VICTIM
                                           PWID-Heroin                                                                                      Societv
5. NARRATIVE
BARASKY's hands. The test showed trace evidence of opiates and cocaine on BARASKY's hands. I shared this result with
BARASKY who rejected the test results as being a result of his handling of money. He claimed that all money contains trace
amounts of drugs and that his hands were contaminated by money. See attached photo of the test results. The test kit was
entered into evidence at PSP Montoursville on the same date, reference property record#F1-21917B.

     After serving the search warrant on BARASKY, I transported him to the Lycoming County Prison. He also had the
attached detainer lodged against him by his Philadelphia County State Parole Officer Anthony MERLINO. While in route to
the prison, BARASKY again admitted to driving the black Dodge Durango during the pursuit, and further admitted that it was
very dangerous of him to have driven so fast on Louisa St and running stop signs at that time of the day. He acknowledged
that he could have killed someone. This conversation occurred with the MVR activated.

   The Dodge Durango was towed from the Kmart to PSP Montoursville on the same date and secured in the impound. A
custodial inventory search was conducted as required. The only item of value discovered was a pink iPhone. The recovered
heroin from the Staples garbage receptacle and from Northway Rd at the Loyalsock High School, along with the iPhone from
Barasky's person, his wallet. keys, cash, the iPhone from the Durango and from Willard's was entered into evidence,
reference property record#F1-21917/A.

  On 09/21/16, I obtained the attached search warrants from MDJ Jon KEMP for the Dodge Durango and for BARASKY's
pants in the custody of the prison (to test for trace evidence of opiates).

    On the same date at 1130 hrs, I served the search warrant on the black Dodge Durango. I noticed that the plastic housing
holding the climate control/radio in the dashboard was loose (I was able to easily remove it with my pocket-knife). The
natural voids behind these areas of vehicle dashboards are commonly used to conceal illegal drugs and guns. I also noticed
that the housing was held in place at the bottom by two small screws, and there was a small Stanley socket set in the back
seat of the vehicle with a socket to fit the same screws. When I removed the housing, I discovered a large brick of heroin in
the natural void behind the housing. The brick was packaged with magazine paper and stamped with the same blue "Purge"
stamp with gun. Upon opening the brick, I found it to contain the same heroin bags/packaging (double sealed, blue glassine
bags stamped "Purge" with a gun) and same colored rubber bands. The brick contained 10 fourteen bag bundles, or 140
bags of heroin. See attached photographs. Also found inside the vehicle in the glove box was a Philadelphia traffic citation
issued to Markel RICHARDSON of 1800 Corlies St Philadelphia for window tint on a black Ford sedan PA Reg#JWT1201 on
05/18/16; and a paid receipt for RICHARDSON with PA OLN 28757534. See attached photocopies. The heroin was entered
into evidence on 09/21/16, reference property record#F1 -2191 7C. The citation and receipt was entered into evidence on
10/01/16, reference property record#F1-21917D.

  I did not serve the warrant on the prison for BARASKY's pants due to finding the large amount of heroin in the dash of the
Dodge Durango.

    A lab request was submitted on 10/01/16 for the heroin. See attached request.

INTERVIEW:                 CRUMM w/m-dob               Regional Property Manager for Excel Trust 4729 Perkiomen Ave
Reading, PA (609) 678-5011 , landlord for Kmart: On 09/29/16, I spoke with CRUMM via telephone. CRUMM advised that the
work on the Kmart is not yet complete and all the costs have not yet been reported. He related that he's been given estimates
between $10,000 to $12,000 to repair the damage caused by BARASKY. CRUMM will provide receipts/documents upon the
completion of the repairs. A Victim Witness Assistance Guide was mailed to CRUMM on 10/01/16.

    MVR requests were submitted to Cpl. Travis DOEBLER on 09/21/16.
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 TPr.T.R.HAVENS
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                              CONTINUATION SHEET                                                      1225 hrs.
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S. NARRATIVE
   On 09/21/16, I was advised by Tpr. Dan KOZAK that on 09/19/16, when we were still attempting to capture BARASKY in
the area of the Kmart plaza, a red in color Honda Civic PA reg#KCS8238 arrived at the Sheetz on Westminster Blvd in
Loyalsock Twp. Two b/m's exited the vehicle and walked toward the Giant/Kmart plaza. A separate B/M arrived
approximately 20 minutes later and drove the vehicle away. The registration for the vehicle showed the owner to be William
Oscar THOMAS Il l of 457 East Indiana Ave Philadelphia. See attached email from Tpr. KOZAK.

  On 10/01/16, I prepared the attached asset forfeiture prep form for the seized $506.00 from BARASKY and forwarded
same, along with a copy of this report to asset forfeiture Trooper Jeffrey BROCK.

    This report shall remain open pending additional investigation and final disposition of charges.




6. OFFICER'S NAMEISIGNATURE                                     BADGE NO.   17. INVEST. RECM. 18. SUPV. INITJBADGE NO. 19. 0 CONCUR              110, PAGE
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